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UNITED STATES COURT OF APPEALS F | L E D

FOR THE NINTH CIRCUIT OCT 5 2020

 

STEPHANIE CLIFFORD, AKA Stormy
Daniels,

Plaintiff-Appellant,
V.
DONALD J. TRUMP,

Defendant-Appellee.

 

 

MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS

No. 18-56351

D.C. No.
2:18-cv-06893-SJO-FFM
Central District of California,
Los Angeles

ORDER

Before: THOMAS, Chief Judge, and WARDLAW and NGUYEN, Circuit Judges.

Appellant’s motion for an extension of time to respond to Appellee’s motion

for attorney fees is GRANTED. Any response is due no later than October 13,

2020.

Panel
